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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X

MICHAEL OSGOOD,
                                                                                     COMPLAINT
                                                     Plaintiff,
                                                                                     Docket No.
                 -against-
                                                                                     Jury Trial Demanded

CITY OF NEW YORK, BILL DE BLASIO, Individually,
JAMES O’NEILL, Individually, TERENCE MONAHAN,
Individually, DERMOT SHEA, Individually,
ANN PRUNTY, Individually, JOHN DONAHUE, Individually,
JAMES ESSIG, Individually, and RAYMOND SPINELLA,
Individually,

                                                   Defendants.

---------------------------------------------------------------------------------X

        Plaintiff MICHAEL OSGOOD, by his attorneys, Brett H. Klein, Esq., PLLC,

complaining of the defendants, respectfully alleges as follows:

                                          Preliminary Statement

        1.       Plaintiff brings this action for compensatory, economic, and punitive damages and

attorneys’ fees pursuant to 42 U.S.C. §§ 1983 and 1988 for violations of his civil rights, as said

rights are secured by said statutes and the Constitution the United States.

        2.       Plaintiff, a former New York City Police Department (hereinafter “NYPD”)

Deputy Chief, was retaliated against for his role in helping to expose the systemic problems in

the NYPD’s handling of special victims cases. Mr. Osgood, who was the City-wide Commander

of the NYPD’s Special Victims Division (hereinafter “SVD”), brought thirty-four years of law

enforcement expertise and innovation to his position with SVD. During his tenure, Mr. Osgood

uncovered serious and pervasive flaws impacting the SVD, which he first tried to remedy
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internally, and then truthfully relayed to the Office of the Inspector General for the NYPD

(hereinafter “OIG-NYPD”). Instead of being honored for his exemplary service and dedication

to improving the investigation of sexual assault victim complaints and the treatment of sexual

assault victims, Mr. Osgood was ostracized, demoted, and constructively fired in retaliation for

exercising his First Amendment rights through truthful testimony to the OIG-NYPD regarding

systemic failings impacting the NYPD’s handing of special victims.

                                          JURISDICTION

        3.       This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the First

Amendment to the United States Constitution.

        4.       Jurisdiction is founded upon 28 U.S.C. §§ 1331 and 1343.

                                               VENUE

        5.       Venue is properly laid in the Southern District of New York under 28 U.S.C. §

1391(b), in that this is the district in which the claim arose.

                                         JURY DEMAND

        6.       Plaintiff respectfully demands a trial by jury of all issues in this matter pursuant to

Fed. R. Civ. P. 38(b).

                                              PARTIES

        7.       Plaintiff MICHAEL OSGOOD is a resident of Staten Island, New York.

        8.       Mr. Osgood was employed as the Commanding Officer of the NYPD’s SVD from

2010 to 2018.

        9.       Defendant CITY OF NEW YORK was and is a municipal corporation duly

organized and existing under and by virtue of the laws of the State of New York.

        10.      Defendant CITY OF NEW YORK maintains the New York City Police
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Department (hereinafter referred to as “NYPD”), a duly authorized public authority and/or police

department, authorized to perform all functions of a police department as per the applicable

sections of the aforementioned municipal corporation, CITY OF NEW YORK.

       11.     Defendant BILL DE BLASIO was, at all times relevant to this Complaint, Mayor of

the City of New York and had final policymaking authority with respect to the NYPD and was

further responsible for appointing Commissioner JAMES O’NEILL.

       12.     Defendant JAMES O’NEILL was, at all times relevant to this Complaint, the Police

Commissioner for the NYPD and had final policymaking authority with respect to the NYPD.

       13.     Defendant TERENCE A. MONAHAN was, at all times relevant to this Complaint,

the Chief of Department for the NYPD.

       14.     Defendant DERMOT SHEA was, at all times relevant to this Complaint, either Chief

of Crime Control Strategies or Chief of Detectives for the NYPD.

       15.     Defendant ANN PRUNTY was, at all time relevant to this Complaint, the

Assistant Deputy Commissioner for NYPD’s Legal Bureau.

       16.     Defendant JAMES ESSIG was, at all times relevant to this Complaint, an Assistant

Chief of Detectives for the NYPD.

       17.     Defendant JOHN DONAHUE was, at all times relevant to this Complaint, Chief

of the Office of Management Analysis and Planning for the NYPD.

       18.     Defendant RAYMOND SPINELLA was, at all times relevant to this Complaint, the

NYPD Chief of Staff.

       19.     That at all times hereinafter mentioned the defendants, either personally or

through their employees, were acting under color of state law and/or in compliance with the

official rules, regulations, laws, statutes, customs, usages and/or practices of the State of New


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York and/or the City of New York.

       20.     Each and all of the acts of the defendants alleged herein were done by said

defendants while acting within the scope of their employment by defendant CITY OF NEW

YORK.

                                              FACTS

       21.     While acting under color of law and by way of authority and power granted to

them by the City of New York, the defendants, their agents, officers, servants and/or employees,

engaged in unlawful conduct by retaliating against plaintiff for exercising his First Amendment

right to free speech by creating a hostile work environment, engaging in harassing speech

directed toward plaintiff, and taking adverse employment actions against plaintiff.

       22.     The unlawful, harassing and retaliatory behavior on which this action is based

commenced in or about March 2017 and was constant, persistent, pervasive and continuing in

nature, up until on or around August 11, 2020, the date on which plaintiff was constructively

terminated.

       23.     Mr. Osgood came to his position in the SVD after 25 years of exemplary

service as a law enforcement officer with the NYPD, where he began as a police officer in

1984 and rose quickly and steadily through the ranks, serving as a sergeant, a lieutenant, an

inspector, and a captain.     In 2008, Mr. Osgood was named Commanding Officer of the

SVD.

       24.     SVD is a City-wide division based in Manhattan which investigates sex

crimes and cases of alleged child abuse.         The SVD works in partnership with victim

advocates and other city agencies such as the Administration for Children’s Services.

       25.     During his tenure at the NYPD, Mr. Osgood developed, managed, and
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implemented a number of innovative law enforcement techniques and systems. For example,

Mr. Osgood implemented ten new organizational units within the SVD, designed and

implemented the Investigative Process Improvement Group (IPIG) to improve detective

work, and created a Division Operational Mental Model to drive investigative operational

decisions.

       26.     In November 2013, Mr. Osgood was directed by then-Chief of Detectives,

Phil T. Pulaski, to construct a PowerPoint presentation on the problems facing the SVD with

a focus on staffing. Over the next eight weeks, Mr. Osgood constructed a PowerPoint

detailing serious external systemic factors damaging SVD investigations.

       27.     The PowerPoint was completed on January 12, 2014, one week before Chief

Pulaski retired from the NYPD.

       28.     Also in January 2014, the New York City Council established the OIG-

NYPD, part of the New York City Department of Investigation an official statutory

investigative body of the City of New York, with arrest and subpoena powers.

       29.     In February 2014, Mr. Osgood met with the new Chief of Detectives, Robert

Boyce, to brief him on major open SVD cases. Mr. Osgood also informed Chief Boyce of

serious systemic problems impacting SVD and provided Chief Boyce a copy of the January

12, 2014, PowerPoint on SVD staffing Issues which detailed these systemic problems.

       30.     Further, during this time, Mr. Osgood forced over a dozen multi-hour long

senior executive meetings detailing serious external systemic factors damaging SVD

investigations, victims, and placing front-line detectives in jeopardy.

       31.     These senior executive meetings were with Chief Boyce and then Chief of

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Crime Control Strategies defendant DERMOT SHEA, among others.

       32.     Mr. Osgood was an ongoing vocal advocate for increasing staffing numbers,

improving training, and fighting for a dedicated squad of experienced investigators to be

made available to SVD to adequately deliver effective investigative services to victims of

sexual violence.

       33.     Mr. Osgood’s efforts were overwhelmingly ignored.

       34.     On or about January 2017, a NYPD commanding officer made comments at a

Precinct Community Council meeting when questioned about an increase of rapes during the

preceding twenty-eight-day period stating: “It’s not the trend we’re too worried about

because out of thirteen, only two were stranger rapes. If there’s a true stranger rape, a

random guy picks up a stranger off the street, those are the troubling ones. That person has,

like no moral standards. They’re not total-abomination rapes where strangers are being

dragged off the streets.”

       35.     The statements went viral across the country and were covered by many

different news media outlets, and ultimately contributed to the OIG-NYPD commencing an

investigation into the NYPD’s SVD Adult Squad’s operations.

       36.     On March 2, 2017, Mr. Osgood was directed to attend a pre-OIG-NYPD

investigation meeting in the NYPD Legal Bureau’s conference room on March 3, 2017.

       37.     In attendance at the March 3, 2017 meeting from the NYPD Legal Bureau

were, without limitation, defendant Assistant Deputy Commissioner (hereinafter “ADC”)

ANN PRUNTY.

       38.     Mr. Osgood brought with him to the meeting and provided to defendant ADC

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PRUNTY documents detailing the external systemic problems that was damaging special

victim’s investigations, and Inspector General Reports of other cities’ investigations of their

respective police department’s special victims’ operations, and several Department of Justice

consent decrees placed on other police department’s special victims operations.

       39.     Mr. Osgood informed defendant ADC PRUNTY that there were serious

problem with SVD.

       40.     Thereafter, over the next hour of the meeting, defendant ADC PRUNTY,

along with other members of the Legal Bureau, directed Mr. Osgood and his staff in

attendance to obstruct, frustrate, slow down and to not fully cooperate with the OIG-NYPD

investigation of SVD.

       41.     In particular, they were told that when interviewed by the OIG-NYPD, they

should give one word answers, act like it’s a deposition, not bring any documents to the OIG

meetings, and that if the OIG in the future asks for additional data or documents, that they

should “slow walk” that request and not to talk to them on the outside.

       42.     Thereafter, in March 2017, Mr. Osgood had his first of several meetings with

OIG-NYPD.

       43.     Members of the NYPD Legal Bureau were also in attendance.

       44.     During the meeting, Mr. Osgood did not heed defendant ADC PRUNTY’s

directives, and instead, out of concern for, and in the interest of ensuring that sexual assault

victims receive the justice they deserved, provided complete and truthful responses to all

OIG-NYPD questions, and directed members of his staff to do the same.

       45.     Further, during the meeting, Mr. Osgood was asked whether CompStat hurt

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SVD investigations.    Mr. Osgood honestly answered in the affirmative that CompStat

damages both SVD investigations and victims.

       46.     Defendant ADC PRUNTY immediately interrupted and ended the meeting

and thereafter rebuked and scolded Mr. Osgood for giving complete answers and allowing

the meeting to go past and hour in time.

       47.     Defendant ADC PRUNTY also informed Mr. Osgood that his career would be

in danger if he speaks badly about CompStat.

       48.     Sometime in May 2017, defendant ADC PRUNTY forwarded to Mr. Osgood

the first official document request issued by OIG-NYPD to the NYPD’s Legal Bureau.

       49.     Upon forwarding it to Mr. Osgood, ADC PRUNTY directed Mr. Osgood both

on the phone and via email to slow walk the response to the OIG-NYPD official request.

       50.     Mr. Osgood instead completed a response to the OIG request within five days.

       51.     The final work product was immediately forwarded to the Legal Bureau.

       52.     On or about August of 2017, defendant Chief SHEA began excessive attacks

on the SVD units at weekly CompStat meetings in response to Mr. Osgood being truthful in

the OIG-NYPD interview meeting.

       53.     Mr. Osgood complained to higher ups including Chief of Detectives Boyce

and Assistant Chief Patrick Conry requesting that defendant Chief SHEA stop because his

actions were damaging investigations and victims.

       54.     Also in August 2017, a second meeting was held with OIG-NYPD. There

was again a pre-meeting during which Mr. Osgood and his staff were ordered to obstruct the

OIG-NYPD, shave their testimony, and informed that Mr. Osgood’s career will be in danger

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if he spoke badly about any Department program. Mr. Osgood was ordered to keep the

meeting to one hour.

       55.     The second meeting lasted approximately three hours, and during the meeting

Mr. Osgood again fully cooperated and truthfully answered the OIG-NYPD questions.

       56.     After the OIG-NYPD meeting, Mr. Osgood was again rebuked and scolded by

defendant ADC PRUNTY for giving complete answers, for being truthful, and for allowing

the meeting to go three hours.

       57.     Defendant ADC PRUNTY again threatened Mr. Osgood stating, in sum and

substance, that his career would be in danger, and again directed Mr. Osgood to slow walk

any document requests that came out of the second meeting.

       58.     On August 21, 2017, the OIG-NYPD issued its second official request letter to the

NYPD’s Legal Bureau.

       59.     The request letter was not forwarded to Mr. Osgood until September 21, 2017.

       60.     Mr. Osgood was told again by defendant ADC PRUNTY to slow walk the

request.

       61.     Mr. Osgood, however, completed the request within a week. The requested

information was sent to the Legal Bureau on September 30, 2017.

       62.     Also around this time, Mr. Osgood began to hear comments circulating that he

had gone “outside the family” and that Mr. Osgood had somehow betrayed the NYPD.

       63.     On January 8, 2018, the OIG-NYPD issued a third official document request for

all of SVD’s internal communications.

       64.     Mr. Osgood again was ordered to slow walk the request.

       65.     Mr. Osgood nonetheless completed the task in a few days and immediately sent
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the relevant documents to the Legal Bureau.

       66.      Around this time, Mr. Osgood also informed defendant Chief of Department

TERRANCE MONAHAN and Deputy Commission Susan Herman that the Legal Bureau was

blocking the OIG-NYPD investigation and refusing to hand over key documents.

       67.      Also in January 2018, defendant ADC PRUNTY informed Mr. Osgood that OIG-

NYPD had requested to interview him again, but she had lied to OIG-NYPD, telling them Mr.

Osgood was too busy.

       68.      Thereafter, in February 2018, the OIG-NYPD issued to Mr. Osgood an Executive

Order 16, compelling his appearance as a witness.

       69.      A few days before Mr. Osgood was to appear as a compelled witness at the OIG-

NYPD, defendant ADC PRUNTY ordered Mr. Osgood to appear in the Legal Bureau conference

room for a one-on-one meeting.

       70.      Also in the room, where two Sergeants from the NYPD OIG Compliance Unit.

       71.      Defendant ADC PRUNTY entered the room in an aggressive and angry manner,

and was holding several of the internal communications DC Osgood had recently delivered to the

Legal Bureau.

       72.      During the meeting, defendant ADC PRUNTY attempted to dissuade, importune,

threaten, and to otherwise coerce Mr. Osgood not to give full disclosure to the OIG-NYPD.

       73.      In response to defendant ADC PRUNTY’s threats, Mr. Osgood stated that the

OIG-NYPD is an official investigative body of the City of New York with arrest and subpoena

power, clearly telling ADC PRUNTY he would not participate in any obstruction of OIG-NYPD.

       74.      In mid-February 2018, Mr. Osgood was interviewed for the third time by the

OIG-NYPD, this time as a compelled witness and under oath for four hours.

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        75.     The NYPD Legal Bureau was not allowed to attend.

        76.     At the start of the meeting, the OIG-NYPD investigators showed Mr. Osgood

approximately fourteen of the internal communications Mr. Osgood delivered to the Legal

Bureau in response to the OIG-NYPD document request.

        77.     Mr. Osgood was asked how many internal communications he had given the

Legal Bureau.

        78.     Mr. Osgood replied thirty-two.

        79.     Mr. Osgood was asked why only fourteen had been provided to the OIG-NYPD,

to which Mr. Osgood replied, he did not know and to ask the Legal Bureau.

        80.     Mr. Osgood was further asked if he ever received a response from the NYPD to

any of the memos he had prepared, to which he answered, no.

        81.     In mid-March of 2018, the OIG-NYPD issued an accurate report on the NYPD’s

SVD Adult Squad operations. The report, which garnered negative nation-wide press confirmed,

among other things, that the NYPD had routinely understaffed, both in number and experience,

and undertrained investigators assigned to SVD, and generally neglected the SVD, and that these

failures had negatively impacted sexual assault investigations. a

        82.     Thereafter, Mr. Osgood began hearing comments such as: Osgood betrayed the

NYPD, Osgood went outside the family, Osgood will be transferred, Osgood will be replaced by

a female, Osgood will be disciplined, Osgood will get charges and specs, they will rip the SVD

and Hate Crimes Task Force (hereafter HCTF) away from Osgood to demoralize him, Osgood is

going to be f#$%!d, Osgood initiated the investigation by going to the OIG-NYPD, Osgood gave

his memos to the OIG-NYPD and Osgood should have destroyed his memos or denied their

a
 See An Investigation of NYPD’s Special Victims Division—Adult Sex Crimes, Mark G. Peters, Commissioner, Mar.
27, 2018, available at https://www1.nyc.gov/assets/doi/reports/pdf/2018/Mar/SVDReport_32718.pdf.
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existence.

       83.     In response to the OIG-NYPD report on SVD, the New York City Council

scheduled hearings to be held on April 9, 2018.

       84.     In preparation for the hearings, the Police Commissioner’s Office held over a

dozen prep meetings. During one of the meetings that was attended by, among others, defendant

Chief of the Office of Management Analysis and Planning JOHN DONAHUE and defendant

Chief of Staff RAYMOND SPINELLA, Chief DONAHUE said to Mr. Osgood in an aggressive

manner, “Mike fucking Osgood!” Mr. Osgood responded, “I didn’t cause this.” Chief

DONAHUE replied, “Your fucking memos, you didn’t have to give them your memos.”

       85.     On April 9, 2018, the New York City Council held the public hearing on the OIG-

NYPD report on SVD. NYPD executives openly stated almost everything in the report was

wrong, in a further effort to hide the truth of SVD’s grave issues from the public.

       86.     On April 16, 2018, defendant SHEA was promoted to Chief of Detectives,

replacing Chief Boyce.

       87.     Prior to Boyce being replaced by defendant SHEA, Boyce told Mr. Osgood, in

sum and substance, you may have to fight O’NEILL (referring to Commissioner JAMES

O’NEILL) and City Hall for your job.

       88.     After the City Council hearing, the retaliation against Mr. Osgood for providing

truthful testimony as a witness to the OIG-NYPD escalated further.

       89.     Based on information and belief, defendant Commissioner O’NEILL ordered and

then conspired with, without limitation, defendant Chief MONAHAN, defendant Chief of

Detectives SHEA, and defendant Assistant Chief JAMES ESSIG, to undermine Mr. Osgood’s

reputation by engaging in excessive attacks on SVD in CompStat and to conspire with a small

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group of rogue SVD supervisors who were doing a substandard job managing their respective

units to gather false negative information regarding Mr. Osgood, in retaliation for his

cooperation with the OIG

       90.       Further, defendant SHEA embarked on a review of SVD data to try to drum up

negative stats in an attempt to denigrate Mr. Osgood.

       91.       Further, defendant Chief MONAHAN made it known that he “wanted” Osgood.

       92.       In early May 2018, defendant Assistant Chief ESSIG asked Mr. Osgood if he

lived in Staten Island.     Defendant ESSIG’s question was out of the ordinary and, upon

information and belief, was asked because ESSIG and his fellow defendants were already

contemplating removing Mr. Osgood from command of SVD and demoting him to a position in

Staten Island.

       93.       In May of 2018, the OIG-NYPD initiated a second investigation into the SVD.

The purpose of the second investigation was to do a follow-up investigation on the SVD Adult

Squads, to acquire information that NYPD Senior Executives had obstructed the OIG-NYPD

from obtaining during the first investigation, and to initiate and investigation on the Division’s

Child Squads and Registered Sex Offender Unit. During the next several months Mr. Osgood

produced several hundred pages of documents to the OIG-NYPD and gave full disclosure on all

aspects in the examined areas.

       94.       In May 2018, as had been previously threatened, Mr. Osgood was removed from

command of the HCTF out of retaliation for participating in the OIG-NYPD investigation, and

not for any proper purpose, given that that he had commanded the HCTF for over sixteen years

and was one the leading experts in hate crime investigations in the country.

       95.       Further, no one in the NYPD possessed Mr. Osgood’s experiential knowledge in

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this area.

         96.     Under Mr. Osgood’s command, the HCTF solved every hate crime homicide,

gang assault and hundreds of complex hate crime cases and had developed a predictive model for

violent hate crime and used it successfully.

         97.     Also, during this period from approximately April through November 2018, Mr.

Osgood was shut out by defendant SHEA and others from an internal review of SVD, major

SVD cases, meetings, and from participating in press briefings and, upon information and belief,

at the behest of defendant MONAHAN, efforts were undertaken to block a favorable news

article that was being written about Mr. Osgood.

         98.     In October 2018, upon information and belief, a meeting was held and attended

by defendants O’NEILL, DONAHUE, SHEA, and SPINELLA regarding SVD and the

retaliatory and otherwise groundless transfer of Mr. Osgood out of command.

         99.     On November 15, 2018, Mr. Osgood received a text message from defendant

ESSIG stating that the boss, i.e. Chief of Detectives SHEA, wanted to see Mr. Osgood at 1545

hours.

         100.    Mr. Osgood met with defendant Chief SHEA on November 15, 2018 and was

informed he was being demoted to Executive Officer of the Staten Island patrol borough. The

official transfer message issued at 5:00 p.m.

         101.    This change of status constituted an adverse employment action which was

undertaken for reasons wholly unrelated to Mr. Osgood’s performance as head of SVD, and was

instead taken in retaliation for Mr. Osgood’s protected speech to OIG-NYPD.

         102.    On November 16, 2018, Mayor De BLASIO fired the New York City Department

of Investigations Commissioner, Mark G. Peters, who was the overall head of OIG-NYPD.

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          103.   After Mr. Osgood was transferred to Staten Island, and Commissioner Peters was

fired, based on information and belief, defendants O’NEILL and Mayor De BLASIO’s Office

were able to stop the second OIG-NYPD investigation of SVD.

          104.   The foregoing malicious and retaliatory actions of defendants made Mr. Osgood’s

working conditions so intolerable, difficult, and unpleasant, that on November 23, 2018, Mr.

Osgood felt compelled to go on terminal leave form the NYPD, with the intent of using his paid

leave time before officially entering early retirement.

          105.   On July 30, 2020, while Mr. Osgood was on terminal leave, having apparently not

achieved the desired full ouster of Mr. Osgood, and in a continuing course of retaliatory conduct,

Mr. Osgood was ordered into an interrogation by the NYPD’s Internal Affairs Bureau for

allegedly speaking to the press without authorization, notwithstanding that Mr. Osgood had been

separated from the NYPD for the preceding twenty-one months while on terminal leave.

          106.   After this further act of retaliation, Mr. Osgood forfeited the remaining nineteen

months and twenty days of paid leave that he had accrued, and was thereby constructively

terminated from his employment with the NYPD on August 11, 2020.

                          AS AND FOR A FIRST CAUSE OF ACTION
                       (First Amendment Retaliation under 42 U.S.C. § 1983)

          107.   Plaintiff repeats, reiterates, and realleges each and every allegation contained in

paragraphs numbered “1” through “106” with the same force and effect as if fully set forth

herein.

          108.   As set forth above, by, among other things, cooperating with and providing

testimony to the OIG-NYPD, Mr. Osgood engaged in activity protected by the First Amendment.

          109.   Appearing as a witness in a public investigation, as Mr. Osgood did here, is


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speech that is protected by the First Amendment, and otherwise was engaged in by a Mr. Osgood

as a citizen about matters of public concern, to wit: the treatment of sexual assault victims and

child abuse victims by the NYPD.

          110.   In retaliation for Mr. Osgood engaging in protected First Amendment speech to

the OIG-NYPD, defendants, acting under color of law, intentionally took adverse employment

actions against plaintiff including, without limitation, engaging in a course of harassing speech

and conduct, removing Mr. Osgood from command of HCTF and SVD, demoting him, and

initiating an internal affairs investigation into him designed to further harass Mr. Osgood.

          111.   These actions created working conditions so intolerable, difficult, and unpleasant

for Mr. Osgood such that he felt compelled to leave the employ of the NYPD and was thereby

constructively terminated.

          112.   As a result of the foregoing, plaintiff is entitled to compensatory and economic

damages in an amount to be fixed by a jury, and is further entitled to punitive damages against

the individually named defendants in an amount to be fixed by a jury, plus reasonable attorneys’

fees, costs and disbursements of this action.

                        AS AND FOR A SECOND CAUSE OF ACTION
          (Municipal Liability under 42 U.S.C. § 1983 against Defendant City of New York)

          113.   Plaintiff repeats, reiterates and realleges each and every allegation contained in

paragraphs numbered “1” through “112” with the same force and effect as if fully set forth

herein.

          114.   Defendants, collectively and individually, while acting under color of state law,

engaged in conduct that constituted a custom, usage, practice, procedure or rule of the respective

municipality/authority, which is forbidden by the Constitution of the United States.


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        115.    The aforementioned customs, policies, usages, practices, procedures and rules of

the City of New York and NYPD included, but were not limited to, suppressing speech by

department members about NYPD’s failings through harassment and retaliation. These practices

were so persistent and widespread that they constituted the constructive acquiescence of

policymakers. Further, as detailed herein, individual policymakers directly participated in and/or

tacitly condoned the retaliation which plaintiff was subjected to.

        116.    The foregoing customs, policies, usages, practices, procedures and rules of the

City of New York and the NYPD constituted deliberate indifference to the constitutional rights

of plaintiff.

        117.    The foregoing customs, policies, usages, practices, procedures and rules of the

City of New York and the NYPD were the direct and proximate cause of the constitutional

violations suffered by plaintiff.

        118.    The foregoing customs, policies, usages, practices, procedures and rules of the

City of New York and the NYPD were the moving force behind the Constitutional violations

suffered by plaintiff.

        119.    As a result of the foregoing customs, policies, usages, practices, procedures and

rules of the City of New York and the NYPD, Mr. Osgood was subjected to harassment,

demoted, and constructively fired.

        120.    As a result of the foregoing, plaintiff is entitled to compensatory and economic

damages in an amount to be fixed by a jury, and is further entitled to punitive damages against

the individually named defendants in an amount to be fixed by a jury, plus reasonable attorneys’

fees, costs and disbursements of this action.



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       WHEREFORE, plaintiff demands judgment and prays for the following relief, jointly

and severally, against the defendants:

       (A)     full and fair compensatory damages in an amount to be determined by a jury;

       (B)     punitive damages against the individually named defendants in an amount to be

               determined by a jury;

       (C)     reasonable attorneys’ fees and the costs and disbursements of this action; and

       (D)     such other and further relief as appears just and proper.

Dated: New York, New York
       November 15, 2021

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                                              By:    _________________________
                                                     BRETT H. KLEIN (BK4744)




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MICHAEL OSGOOD,

                                                     Plaintiff,

                 -against-                                                           Docket No.

CITY OF NEW YORK, BILL DE BLASIO, Individually,
JAMES O’NEILL, Individually, TERENCE MONAHAN,
Individually, DERMOT SHEA, Individually,
ANN PRUNTY, Individually, JOHN DONAHUE, Individually,
JAMES ESSIG, Individually, and RAYMOND SPINELLA,
Individually,

                                                     Defendants.

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                                                COMPLAINT




                                    BRETT H. KLEIN, ESQ., PLLC
                                       Attorneys for the Plaintiff
                                       305 Broadway, Suite 600
                                      New York, New York 10007
                                            (212) 335-0132
